                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                           DOCKET NO. 3:16-cr-00074-MOC-DSC

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                     ORDER
                                               )
 JERITON LAVAR CURRY,                          )
                                               )
                  Defendant.                   )



       THIS MATTER is before the court on defendant’s pro se Motion to Dismiss Indictment

and Motion to Dismiss Counsel. Having considered defendant’s motion and reviewed the

pleadings, the court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s pro se Motion to Dismiss

Indictment (#158) is summarily denied without prejudice as defendant is presently represented

by counsel; defendant’s Motion to Dismiss Counsel (#158) is REFERRED to the magistrate

judge for resolution.




 Signed: September 13, 2016




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